  Case: 1:21-cv-04055 Document #: 101-1 Filed: 11/14/22 Page 1 of 2 PageID #:5341




06/12/15
                                     United States District Court
                                     Northern District of Illinois

                              Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket. A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted.



        Case Number: 1:21-cv-04055

        Case Title: Feng Gao v. THE PARTNERSHIPS and INCORPORATED ASSOCIATIONS IDENTIFIE

        Judge: Sharon Johnson Coleman



        Name of Attorney submitting the motion to withdraw:
        Adam E. Urbanczyk

        Name of Client:
        See attached rider:


        Mailing address of Client:

        City:                                          State:

        Zip:                               Telephone Number:


        I attest that the above information is true and correct to the best of my
        knowledge.
          /s/Adam E. Urbanczyk
Signed: ________________________________________________________

Date:
Case: 1:21-cv-04055 Document #: 101-1 Filed: 11/14/22 Page 2 of 2 PageID #:5342




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